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                    UNITED STATES DISTRICT COURT
          FOR THE Northern District of Illinois − CM/ECF NextGen 1.7.1.1
                               Eastern Division

Michael Cozzi, et al.
                                      Plaintiff,
v.                                                       Case No.: 1:21−cv−00998
                                                         Honorable Steven C. Seeger
Village of Melrose Park, et al.
                                      Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Friday, May 26, 2023:


       MINUTE entry before the Honorable Sheila M. Finnegan: At Defendants' request
and by agreement, the settlement conference set on 6/6/2023 is reset to 6/8/2023 at 11:00
a.m. The letter exchange dates to remain. Mailed notice (sxw)




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
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